

Matter of Irene L.R. v Wayne C.C. (2025 NY Slip Op 02426)





Matter of Irene L.R. v Wayne C.C.


2025 NY Slip Op 02426


Decided on April 24, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 24, 2025

Before: Manzanet-Daniels, J.P., González, Shulman, O'Neill Levy, Michael, JJ. 


Docket No. F-11399-17/21|Appeal No. 4180|Case No. 2024-02526|

[*1]In the Matter of Irene L. R., Petitioner-Appellant,
vWayne C. C., Respondent-Respondent.


Richard L. Herzfeld, P.C., New York (Richard L. Herzfeld of counsel), for appellant.
John R. Eyerman, New York, for respondent.



Order, Family Court, Bronx County (Janette Cortes-Gomez, J.), entered on or about March 15, 2024, which denied petitioner mother's objection to the order, same court (Paul Ryneski, Support Magistrate), entered on or about January 22, 2024, denying her motion to re-calendar the matter, unanimously affirmed, without costs.
After protracted proceedings on the mother's petition alleging violation of a child support order, a Support Magistrate found that respondent father willfully violated the order and directed the Parent Support Program to continue to assist him in a job search and training. The order noted that the mother had waived the remedy of "incarceration or probation at this time" and that the matter was concluded. The Support Magistrate who later heard the mother's motion to re-calendar the matter providently determined that there was no basis for changing the disposition since the mother had consented to that resolution and the matter had been concluded. The mother's motion did not seek to vacate the prior order based on fraud by the father pursuant to CPLR 5015(a)(3) and, in any event, she did not demonstrate that he had misrepresented the status of his employment search (see H &amp; Y Realty Co. v Baron , 193 AD2d 429, 430 [1st Dept 1993]).
We have considered petitioner's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 24, 2025








